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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 TYRONE WILLIAMS,

                 Plaintiff,

         v.
                                                            Civil Action No. 22-0753 (RJL)
 ROBERT A. DIXON, In His Official
 Capacity, as United States Marshal for the
 Superior Court of the District of Columbia,

                 Defendant.


    ANSWER TO COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Defendant, Robert A. Dixon in his official capacity as United States Marshal for the

Superior Court of the District of Columbia, with the U.S. Marshal Service (“USMS” or

“Agency”), by and through undersigned counsel, hereby answers Plaintiff, Tyrone William’s

Complaint for Declaratory and Injunctive Relief (“Complaint”), ECF No. 1, as follows:

                     RESPONSES TO THE NUMBERED PARAGRAPHS

       To the extent the Complaint refers to or quotes from external documents, statutes or other

sources, Defendant may refer to such materials for their accurate and complete contents in

response; however, Defendant’s references are not intended to be, and should not be construed to

be, an admission that the cited materials are: (a) correctly cited or quoted by Plaintiff;

(b) relevant to this, or any other, action; or (c) admissible in this, or any other, action. Defendant




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expressly denies all allegations in the Complaint, including the relief sought, that are not

specifically admitted or otherwise qualified in this Answer. 1

                                           Introduction

       1.      Paragraph 1 contains Plaintiff’s characterization of this action to which no

response is required. To the extent a response is required, Defendant denies the allegations set

forth in this paragraph.

       2.      Defendant admits that Mr. Williams has filed this lawsuit for declaratory and

injunctive relief. Defendant denies the remaining allegations set forth in Paragraph 2.

       3.      Defendant admits that Mr. Williams has filed this lawsuit for declaratory and

injunctive relief. Defendant denies the remaining allegations set forth in Paragraph 3 of the

Complaint.

                                      Jurisdiction and Venue

       4.      The allegations in Paragraph 4 contain legal conclusions and require no response.

To the extent a response is required, Defendant admits that this Court has jurisdiction over this

matter. Defendant denies the remaining allegations in this paragraph.

       5.      The allegations in Paragraph 5 contain legal conclusions and require no response.

To the extent a response is required, Defendant admits that venue is proper in this District.

Defendant denies the remaining allegations in this paragraph.

                                               Parties

       6.      Admitted that at the time of filing his Complaint, Plaintiff was in the custody of

the USMS. Responding further, Defendant states that, on information and belief, Plaintiff is


1
        For ease of reference, Defendant’s Answer replicates the headings and titles contained in the
Complaint, but to the extent those headings and titles could be construed to contain factual
allegations to which a response is required, Defendant denies those allegations.



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currently in the custody of the Bureau of Prison at USP Hazelton. The Defendant is without

sufficient information to admit or deny the remaining allegations in Paragraph 6.

       7.      Admitted that Robert Anthony Dixon is the United States Marshal for the

Superior Court of the District of Columbia and is being sued in his official capacity.

                                              Facts

       8.      The allegations contained in Paragraph 8 describe a purported search policy

implemented by the D.C. Jail, which is not a party to this case and does not relate to any action

or allegation against Defendant. Therefore, no response is required. To the extent a response is

required, Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 8.

       9.      The allegations contained in Paragraph 9 describe a purported search policy

implemented by the D.C. Jail, which is not a party to this case and does not relate to any action

or allegation against Defendant. Therefore, no response is required. To the extent a response is

required, Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 9.

       10.     The allegations contained in Paragraph 10 describe a purported search policy

implemented by the D.C. Jail, which is not a party to this case and does not relate to any action

or allegation against Defendant. Therefore, no response is required. To the extent a response is

required, Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 10.

       11.     The allegations contained in Paragraph 11 describe a purported search policy

implemented by the D.C. Jail, which is not a party to this case and does not relate to any action

or allegation against Defendant. Therefore, no response is required. To the extent a response is




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required, Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 11.

           12.   The allegations contained in Paragraph 12, and including its subparts (a)-(f),

describe a purported search policy implemented by the D.C. Jail, which is not a party to this case

and does not relate to any action or allegation against Defendant. Therefore, no response is

required. To the extent a response is required, Defendant is without sufficient knowledge and

information to admit or deny the allegations set forth in Paragraph 12, and including its subparts

(a)-(f).

           13.   The allegations contained in Paragraph 13 describe a purported search policy

implemented by the D.C. Jail, which is not a party to this case, and does not relate to any action

or allegation against Defendant. Therefore, no response is required. To the extent a response is

required, Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 13.

                  The United States Marshals Service’s Manual Search Policy

           14.   Admitted that the USMS has policies for searching individuals in USMS custody.

Defendant is without sufficient knowledge and information to admit or deny the remaining

allegations set forth in Paragraph 14 of the Complaint.

           15.   Admitted that the USMS has policies for searching individuals in USMS custody.

Defendant denies the remaining allegations in Paragraph 15.

           16.   Admitted that the USMS has policies for searching individuals in USMS custody.

Defendant denies the remaining allegations in Paragraph 16.

           17.   Admitted that the USMS has policies for searching individuals in USMS custody.

Responding further, Defendant avers that the allegations contained in Paragraph 17 characterize




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a purported search policy implemented by the D.C. Jail, which is not a party to this case, and

does not relate to any action or allegation against Defendant. Therefore, no response is required.

To the extent a response is required, Defendant is without sufficient knowledge and information

to admit or deny those allegations. Defendant denies the remaining allegations set forth in

Paragraph 17.

                           The Searches of Plaintiff Tyrone Williams

       18.      Admitted that Plaintiff was in the custody of USMS and appeared before DC

Superior Court on November 3, 2020, October 18, 2021, and February 10, 2022. Defendant

denies all remaining allegations in Paragraph 18.

       19.      The allegations contained in Paragraph 19 do not relate to any actions or

allegations against Defendant and therefore no response is required. To the extent a response is

required, Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 19.

       20.      The allegations contained in Paragraph 20 do not relate to any actions or

allegations against Defendant and therefore no response is required. To the extent a response is

required, Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 20.

       21.      The allegations contained in Paragraph 21 do not relate to any actions or

allegations against Defendant and therefore no response is required. To the extent a response is

required, Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 21.




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       22.     Admitted Plaintiff was searched by USMS personnel after arrival at DC Superior

Court. Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 22.

       23.     Admitted that Plaintiff was searched by USMS personnel after arrival at DC

Superior Court. Defendant denies all remaining allegations in Paragraph 23.

       24.     Admitted that Plaintiff was searched by USMS personnel after arrival at DC

Superior Court. Defendant denies the remaining allegations in Paragraph 24.

       25.     Defendant denies the allegations in Paragraph 25.

       26.     Defendant denies the allegations in Paragraph 26.

       27.     Defendant is without sufficient knowledge and information to admit or deny the

allegations set forth in Paragraph 27.

       Grace Rivera’s Inspection of the Search of Mr. Williams on February 10, 2022

       28.     Admitted that Plaintiff’s counsel spoke with Supervisory Deputy Grace Rivera.

Defendant is without sufficient knowledge and information to admit or deny the remaining

allegations set forth in Paragraph 28.

       29.     Admitted that Deputy Rivera monitored the next search of Plaintiff without telling

the deputies conducting the search. Defendant is without sufficient knowledge and information

to admit or deny the remaining allegations set forth in Paragraph 29.

       30.     Admitted that Deputy Rivera subsequently told Plaintiff’s counsel that the search

was conducted appropriately, and that Plaintiff complained during the search. Defendant is

without sufficient knowledge and information to admit or deny the remaining allegations set

forth in Paragraph 30.




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       31.     Admitted that Deputy Rivera stated the search comported with USMS policy.

Defendant is without sufficient knowledge and information to admit or deny the remaining

allegations set forth in Paragraph 31.

                                     Mr. Williams’s Injuries

       32.     Defendant denies that the search performed by USMS on November 3, 2020

occurred as Plaintiff describes in paragraphs 23 through 26 and therefore denies the allegations

in Paragraph 32.

       33.     Defendant denies that the search performed by USMS on October 18, 2021

occurred as Plaintiff describes in paragraphs 23 through 26 and therefore denies the allegations

set forth in Paragraph 33.

       34.     Defendant denies that the search performed by USMS on February 10, 2022

occurred as Plaintiff describes in paragraphs 23 through 26 and therefore denies the allegations

set forth in Paragraph 34.

                         Application of the USMS Policy to Mr. Bower

       35.     Defendant denies the allegations in Paragraph 35.

       36.     Defendant denies the allegations in Paragraph 36.

       37.     Defendant denies the allegations in Paragraph 37.

       38.     Defendant denies the allegations in Paragraph 38.

                                Mr. Williams’s Next Court Date

       39.     Admitted that Mr. William appeared for a further court date at DC Superior Court

on April 18, 2022. Defendant is without sufficient knowledge and information to admit or deny

the remaining allegations set forth in Paragraph 39.

                    The Lack of Justification for the USMS Search Policy




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       40.     Paragraph 40 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       41.     Paragraph 41 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       42.     Paragraph 42 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       43.     Paragraph 43 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       44.     Paragraph 44 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

                                    CLAIMS FOR RELIEF

                 Claim I: Violation of the Fourth Amendment (USMS Policy)

       45.     Paragraph 45 contains legal conclusions to which no response is required. To the

extent a response is required, Defendant respectfully refers the Court to the Fourth Amendment

of the United States Constitution for its true and complete contents and denies all allegations in

this paragraph inconsistent therewith.




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       46.     Paragraph 46 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph and denies any allegation of wrongdoing whatsoever.

       47.     Paragraph 47 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       48.     Admitted that Robert Anthony Dixon is the United States Marshal for the

Superior Court of the District of Columbia. The remaining allegations contain argument and

legal conclusions to which no response is required. To the extent a response is required,

Defendant denies the remaining allegations contained in this paragraph.

                 Claim II: Violation of the Fifth Amendment (USMS Policy)

       49.     Paragraph 49 contains legal conclusions to which no response is required. To the

extent a response is required, Defendant respectfully refers the Court to the Fifth Amendment of

the United States Constitution for its true and complete contents and denies all allegations in this

paragraph inconsistent therewith.

       50.     Paragraph 50 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph and denies any allegation of wrongdoing whatsoever.

       51.     Paragraph 51 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       52.     Admitted that Robert Anthony Dixon is the United States Marshal for the

Superior Court of the District of Columbia. The remaining allegations contain argument and




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legal conclusions to which no response is required. To the extent a response is required,

Defendant denies the remaining allegations contained in this paragraph.

              Claim III: Violation of the Fourth Amendment (Excessive Force)

       53.     Paragraph 53 contains legal conclusions to which no response is required. To the

extent a response is required, Defendant respectfully refers the Court to the Fourth Amendment

of the United States Constitution for its true and complete contents and denies all allegations in

this paragraph inconsistent therewith.

       54.     Paragraph 54 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph and denies any allegation of wrongdoing whatsoever.

       55.     Paragraph 55 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       56.     Paragraph 56 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       57.     Admitted that Robert Anthony Dixon is the United States Marshal for the

Superior Court of the District of Columbia. The remaining allegations contain argument and

legal conclusions to which no response is required. To the extent a response is required,

Defendant denies the remaining allegations contained in this paragraph.

             Claim IV: Violation of the Fifth Amendment (Pretrial Punishment)

       58.     Paragraph 58 contains legal conclusions to which no response is required. To the

extent a response is required, Defendant respectfully refers the Court to the Fifth Amendment of




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the United States Constitution for its true and complete contents and denies all allegations in this

paragraph inconsistent therewith.

       59.     Paragraph 59 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph and denies any allegation of wrongdoing whatsoever.

       60.     Paragraph 60 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       61.     Paragraph 61 contains argument and legal conclusions to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in this

paragraph.

       62.     Admitted that Robert Anthony Dixon is the United States Marshal for the

Superior Court of the District of Columbia. The remaining allegations contain argument and

legal conclusions to which no response is required. To the extent a response is required,

Defendant denies the remaining allegations contained in this paragraph.

                                      REQUESTED RELIEF

       The paragraph starting with “Wherefore,” and including subparts (A)-(E) contain

Plaintiff’s prayer for relief for which no response is required. To the extent that a response is

required, Defendant denies the allegations contained in this paragraph and all subparts (A)-(E)

and denies Plaintiff is entitled to the relief requested, or to any relief whatsoever.

                                    ADDITIONAL DEFENSES

       Defendant respectfully reserves the right to amend, alter, and supplement the defenses

contained in this Answer as facts and circumstances giving rise to the Complaint become known




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to the Defendant through the course of litigation. Defendant reserves the right to assert

affirmatively any other defense that constitutes an avoidance or reaffirmance under Fed. Civ. P.

8(c).

                                          FIRST DEFENSE

        Plaintiff’s claims are moot as he is no longer in the custody of the United States Marshals

Service and this Court lacks jurisdiction for lack of live case or controversy.

                                        SECOND DEFENSE

        USMS does not employ an unconstitutional search policy.

                                          THIRD DEFENSE

        The United States has sovereign immunity with respect to some or all of the claims for

relief set forth in the Complaint, including but not limited to constitutional tort claims against

individual officers or any claims for supervisory liability, thus, the Court lacks jurisdiction over

the subject matter of some or all of the action.

                                        FOURTH DEFENSE

        Plaintiff’s claims do not rise to the level of Constitutional violations.

                                          FIFTH DEFENSE

        Plaintiff is not entitled to injunctive, declaratory relief, or attorneys’ fees in this action.

                                          SIXTH DEFENSE

        The United States, through its employees and agents, acted lawfully, reasonably, with

legal justification, and was substantially justified in its actions at all times referenced in

Plaintiff’s Complaint.

                                            *       *       *




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Dated: June 16, 2023               Respectfully submitted,
       Washington, DC
                                   MATTHEW M. GRAVES, D.C. Bar #481052
                                   United States Attorney

                                   BRIAN P. HUDAK
                                   Chief, Civil Division

                                   By:           /s/ Stephen DeGenaro
                                         STEPHEN DEGENARO
                                         D.C. Bar #1047116
                                         Assistant United States Attorney
                                         601 D Street, NW
                                         Washington, DC 20530
                                         (202) 252-7229
                                         Stephen.DeGenaro@usdoj.gov

                                   Attorneys for the United States of America




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